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    (vtl - S"-15)t¿
DANIEL V/ALSH, CONSERVATOR OF
THE PERSON AND ESTATE OF
JOHN DOE                                            :      SI-IPERIOR COURT

        v.                                          I      J.D.OF HARTFORD

BRUCE BEMER and
WILLIAM          TREFZGER                           :      Jt-lNÊ' 16,2017

¿xPlRrE APPLICATION FqR THE TEMPORT{RY                              USE OF A PSEUDONYM

        'fhe plaintiff, John Doe, pursuant to Practicc Book $ I I -20A(hX2), applies to this

court for a temporary      ex   pqrte order to proceed with pseudonyms in this action for the

identity of plaintiffs ward.. The plaintiff s ward is an adult who was a victim of                a


continuous course of depraved and comrpt sexual business activity over many years.

wherein the defendants would target young men with drug/alcohol addictions and

emotional impairments for sexual exploitation, rvillingl¡' engaging in a conspiracy to

sexually traffic individuals, including the plaintifTs w'ard, John Doe, tbr financial gain

and/or depraved sexual gratifrcation in lieu of or in addition to financial gain. Moreover,

plaintiff   s   ward's identify has been shielded by the Court in the warrants. In accordance

with General Statutes $$ 54-8ód and 54-86e (providing tìrr protection of victims of

sexualassault). and practice Book $l l-204(hX2). the plaintitTrequests that an ex parte

order be granted allowing tbr the prosecution of the matier using a fictitious name f'or the

ward until a hearing can be held as provided by law so the court can determine whether

continued prosecution under pseudonyms should be allowecl.

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                                   LAW OFFICES OF GERALD S. SACK' LLC                                                    {}
        836 FARMTNGTON AVENUE, SUITE 109. WEST HARTFORD, Cr 06119   .   (860) 236-7225. JURIS NO. 423992
                \,                                                      Y/




                          THE PLAINTIFF              NIËL WALSH,
                          CONSERVA                   T'HE PERSON AND ESTATE OF
                          JOHN DOE


        By
                          Gerald S.
                          Juris N              992
                          Law             f          S, Sack, LLC
                          836                  Avenue
                          West                cr 06119
                          864-n6-722s




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836 FARMTNGTON AVENUE, SUITE 109 . WEST HARTFORD, Cr 0611   I   .   (860) 236-7225 . JUF|S NO. 423992
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    v.


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                                   ORDER FOR HEARINC AND_NOTICE

         The foregoing applicati on                             by the Court, it is hereby ORDERED

                                               C            /   DENIED

         It is further ordered that the Court finds the petitioner's interests in protecting his ward's

identify compelling and significant in light of the allegations of sexual assault and psychological

abuse, pseudonyms are necessary to accomplish the same. Such interest outweighs the public's

interest in knowing his name and no lesser alternative            will suflìce, This order      shall remain in
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efîect untilà.hearing on                                                   ,,
            A                            -jyîtL-
Washington Street, Hartt'ord, CT at which time this question will be considered anew.


         It is ñ¡rther ordered that petitioner's identify shall be disclosed to defense counsel


                                                   THE COURT,



                                          By




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    {ku; ^, }'*"


                                           LAW CIFFICES OF GERALD S. SACK' LLC
              836 FARMTNGTON AVENUE, SUTTE 1O9.WEST HARTFORD, cT 06119
                                                                            .   (860) 236-7225 'JURIS NO. 423992
                         v                                            ¿




DANIEL V/ALSH, CONSERVATOR OI.'
THE PERSON AND ESTATE OF'
JOHN DOE                                                    SUPERIOR COURT

         V.                                           :     J,D. OF HARTFORD

BRUCE BEMER and
WILLIAM       TREFZGER                                :     JUNE 16,2017

    MOTION FOR LEAVE TO PROSECUTE UNDER ¡tlc't.l't't()us NAME. ANI)
                 MOTION FOR PROTECTIVE ORDtrR

         Pursuant to Practice Book section I 1-204(h)(3), the plaintiff moves for an order

permitting the permanent use of the pseudonym John Doe fbr his ward in place of his

true and legal name beyond the initial temporary period allowed by the Court. In

Support of this motion, the plaintiff states as follows;

         The nature of the plaintifï's claims in the complaint make it clear that it would be

an unwarranted invasion of     plaintiff   s ward's   privacy were his name to become part of     a


public record. There is no prejudice to defendants by this request, as both are well aware

of plaintiffls ward's identity.

         In addition, plaintiff moves f'or a protective order precluding defendants from

publicizing, disseminating. staling, or otherwise usrng the plaintif'fs ward's real name in

a   couf hling or otherwise without leave of this Court.       1'o do so would be undue

invasion of the plaintiff s ward's privacy without any countervailing benefit to

defendants

         Finally, plaintiff moves that a protective order enter precluding all parties from

putrticizing or disseminating the <liscovery responses of any party and the deposition




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         836 FARMTNGTON AVENUE, SU|TE 109.wÊST HARTFORD, CT 06119              JUR|S NO. 423992       rür
                          v                                                ¿




testimony of any pafy, to this case, without a court order. f'or the same reasons specified

above.



                                 ]'HE PLAINTIFF: DANIIjL WALSH
                                 CONSERV          F THE PERSON AND ESTATE OF
                                 JOHN DOE


                          By
                                 Gerald S
                                 Juris Num         3992
                                 Law              Gerald S. Sack, [.LC
                                 836 F             Avenue
                                 West             cT06lr9
                                 864-n6-722s




                      .        LAW OFFICES OF GERALD S. SACK, LLC
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         836 FARMINGTON AVENUE, SUITE 109'WEST HARTFOBD, CT06119       (860) 236-7225.JUR|S NO.423S92
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                             ORI}ER FOR HEÀR¡NG AND NOTTCE

       The foregoing app lication                          b,v the Court.   it is hereby ORDERED:

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       ft is fu¡ther ordered that the Court finds the petitioner's interests in protecting his ward's

identify compelling and signifìcant in light of the allegations of sexual assault and psychological

abuse, pseudonyms are necessary to accomplish the same, Such interest outweighs the public's

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Washington Street, Hartford, CT at which time this question         will   be considered anew



       It is fu*her ordered that petitioner's identify shall be disclosed ¡o defense counsel


                                            THE COURT,



                                   By




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                                    LAì¡V OFFICES OF GERALD S. SACK, LLC
                                                                 . (860) 236-7225 . JURIS NO. 423992
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DOCKET NO: FBTCVl75033 I 565                             SUPERIOR COURT

WALSH, DANIEL, CONSERVATOR OF                            JUDICÌAL DISTRICT OF FAIRFIELD
THE PERSON AND ESTAT                                       AT BRIDGEPORT
  V.
BEMER, BRUCE, J Et AI                                    8lt4/2017



                                               ORDER


ORDER REGARDTNG:
06122/2017 103.00 MOTION FOR PERMISSION TO USE PSEUDONYM(S)

The foregoing, having been considered by the Court, is hereby:

ORDER: OFF

This matter was marked take papers, and no one appeared for the required 1l-204 hearing. The motion
must be reclaimed as arguable.

Judicial Notice (JDNO) was sent regarding this order.

                                                   421277

                                                   Judge: BARBARA N BELLIS




FBTCV1750331565 8n4/2017                                                                  Page   I ofl
